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 1                        UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
 2                                MIAMI DIVISION
 3            ADT, LLC; and The ADT Security       )
              Corporation,                         )
 4                                                 )
                  Plaintiffs/Counterclaim          )
 5                Defendants,                      )
                                                   ) Cause No.
 6            vs.                                  ) 20-cv-23391-
                                                   ) COOKE/GOODMAN
 7            VIVINT SMART HOME, INC., f/k/a       )
              MOSAIC ACQUISITION CORP.; and        )
 8            LEGACY VIVINT SMART HOME, INC.,      )
              f/k/a VIVINT SMART HOME, INC.,       )
 9                                                 )
                  Defendants/Counterclaimants.     )
10
                    VIDEO ZOOM DEPOSITION OF TERRELL HARRIS
11              Taken on behalf of the Plaintiffs/Counterclaim
                                   Defendants
12                              December 9, 2021
13                          Sheryl A. Pautler, RPR,
                         MO-CCR 871, IL-CSR 084-004585
14
15                    (The proceedings began at 10:39 a.m.)
16
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25            Job No. CS4979796

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                                                               1         APPEARANCES
 1 QUESTIONS BY:                     PAGE NO.                  2      For the Plaintiffs/Counterclaim Defendants
 2 Mr. Eblen                      6                                via Zoom:
                                                               3
 3 Mr. Steward                    13                                     Mr. Charles C. Eblen
                                                               4         Shook, Hardy & Bacon, LLP
 4                                                                       2555 Grand Boulevard
 5           INDEX OF EXHIBITS                                 5         Kansas City, Missouri 64108
                                                                         816-474-6550
 6             (No exhibits marked.)                           6         Ceblen@shb.com
 7                                                             7
                                                                     For the Defendants/Counterclaimants via
 8                                                             8   Zoom:
                                                               9        Mr. Matthew A. Steward
 9                                                                      Clyde Snow & Sessions
10                                                            10        201 South Main Street, Suite 1300
                                                                        Salt Lake City, Utah 84111
11                                                            11        801-322-2516
                                                                        Mas@clydesnow.com
12                                                            12
13                                                            13     For the Defendants/Counterclaimants via
                                                                   Zoom:
14                                                            14
                                                                         Mr. Gregory W. Herbert
15                                                            15         Ms. Savannah Young
16                                                                       Greenberg Traurig, P.A.
                                                              16         450 South Orange Avenue, Suite 650
17                                                                       Orlando, Florida 32801
18                                                            17         407-420-1000
                                                                         Herbert@gtlaw.com
19                                                            18
                                                              19      The Court Reporter:
20                                                            20        Ms. Sheryl Pautler
21                                                            21
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22                                                            22
                                                              23
23                                                                    The Videographer:
24                                                            24
                                                                         Mr. Rick Deasley
25                                                            25         Veritext Legal Solutions

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 1          UNITED STATES DISTRICT COURT                       1         IT IS HEREBY STIPULATED AND AGREED, by and
             SOUTHERN DISTRICT OF FLORIDA
 2                MIAMI DIVISION                               2     between counsel for Plaintiffs and counsel for
 3   ADT, LLC; and The ADT Security          )                 3     Defendants, that the deposition of TERRELL
     Corporation,                 )                            4     HARRIS may be taken in shorthand by Sheryl A.
 4                          )
                                                               5     Pautler, shorthand reporter, and afterwards
       Plaintiffs/Counterclaim        )
 5     Defendants,                )                            6     transcribed into typewriting; and the signature
                            ) Cause No.                        7     of the witness is expressly waived.
 6   vs.                      ) 20-cv-23391-
                                                               8                  *****
                            ) COOKE/GOODMAN
 7   VIVINT SMART HOME, INC., f/k/a            )               9               TERRELL HARRIS,
     MOSAIC ACQUISITION CORP.; and               )            10 of lawful age, being produced, sworn and examined on
 8   LEGACY VIVINT SMART HOME, INC., )
                                                              11 behalf of the Plaintiffs/Counterclaim Defendants,
     f/k/a VIVINT SMART HOME, INC.,            )
 9                          )                                 12 deposes and says:
       Defendants/Counterclaimants. )                         13         THE VIDEOGRAPHER: Today is Thursday,
10
                                                              14     December 9, 2021. We'll go on the record at
11         ZOOM VIDEO DEPOSITION OF WITNESS, TERRELL
12     HARRIS, produced, sworn, and examined on the           15     10:39 a.m. We are here to take the deposition
13     9th day of December, 2021, between the hours of        16     of Terrell Harris in Case No.
14     ten o'clock in the forenoon and eleven o'clock
                                                              17     20-cv-23391-Cooke/Goodman in the U.S. District
15     in the forenoon of that day, via Veritext Zoom,
16     before SHERYL A. PAUTLER, RPR, Certified               18     Court for the Southern District of Florida,
17     Shorthand Reporter within and for the State of         19     Miami Division.
18     Illinois and Certified Court Reporter within           20         Will counsel state their names and
19     and for the State of Missouri, in a certain
20     cause now pending before the United States             21     affiliations for the record, please.
21     District Court, Southern District of Florida,          22         MR. EBLEN: Yes. Charlie Eblen for ADT
22     Miami Division, wherein ADT, LLC, et al. are           23     and CPI.
23     the Plaintiffs, and VIVINT SMART HOME, INC., et
24     al. are the Defendants.                                24         MR. STEWARD: Matt Steward and Greg
25                                                            25     Herbert on behalf of the defendant, Vivint.

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 1        THE VIDEOGRAPHER: Will the court reporter         1           MR. STEWARD: I'm sorry, Mr. Harris. I'm
 2    please swear the witness.                             2       going to, from time to time, lodge an objection
 3              (Whereupon the witness responded            3       to the question.
 4              "yes, ma'am" to the oath                    4           Objection to form, leading. Thank you. I
 5              administered by the court                   5       apologize for interrupting.
 6              reporter.)                                  6       Q. (By Mr. Eblen) You can answer.
 7             [EXAMINATION]                                7       A. No, sir.
 8 QUESTIONS BY MR. EBLEN:                                  8       Q. All right. Do you recall in September of
 9    Q. Good morning. How are you today?                   9   2021 any door-to-door solicitors approaching your
10    A. Me?                                               10   home?
11    Q. Yeah.                                             11       A. Yes, sir.
12    A. Oh, pretty good.                                  12           MR. STEWARD: I'm sorry. Same objection,
13    Q. Could you introduce yourself, please, for         13       form, leading.
14 the jury?                                               14       Q. (By Mr. Eblen) What company approached
15    A. My name is Terrell Harris.                        15   your home in September of 2021?
16    Q. Mr. Harris, where do you live?                    16       A. Vivint.
17    A. Kansas City, Missouri.                            17       Q. All right. Okay.
18    Q. What's your address?                              18           MR. STEWARD: I'm going to apologize. Let
19    A. 4705 Harvard Avenue.                              19       me make an objection. Form, foundation.
20    Q. Who else lives with you at that address?          20       Q. (By Mr. Eblen) I'm going to -- I'm going
21    A. My wife, Alaina Harris.                           21   to share my screen with you and play a video for you
22    Q. Anyone else?                                      22   real quick. Okay? All right. Can you see what's
23    A. No, sir.                                          23   pulled up on the screen here, Mr. Harris?
24    Q. How long have you lived there?                    24       A. Yes, sir.
25    A. Three -- three years.                             25       Q. Do you recognize the still image of what's
                                                  Page 7                                                      Page 9
 1      Q. Give us a little bit of an idea about your       1   being depicted on the screen right here?
 2   educational history and your job history.              2      A. Yes.
 3      A. My education history, I have a master's          3      Q. What do you see?
 4   degree. Education -- I'm sorry. Job, I worked at       4      A. I see a gentleman holding an iPad type
 5   the Kansas Star for ten years. Then I worked at        5   device, trying to hide his face.
 6   Shook for nine.                                        6      Q. And do you recognize -- looking out from
 7      Q. What was your position at Shook?                 7   that advantage point, can you tell where that is?
 8      A. Litigation support.                              8      A. That's -- that's my home.
 9      Q. Did you work for Shook or a vendor?              9      Q. And where was this image captured?
10      A. I worked for a vendor. Alexa -- Accela.         10      A. On my front porch.
11      Q. And was Accela your employer?                   11      Q. And what captured that image?
12      A. Yes, sir.                                       12      A. Ring camera.
13      Q. All right. I would like to direct you to,       13      Q. To your knowledge, how does the Ring
14   in September of 2021, did you have an alarm system    14   camera work?
15   with the company called Vivint?                       15      A. It captures motion.
16      A. No, I did not have.                             16      Q. And when it captures motion, based on your
17         MR. STEWARD: I'm sorry. Objection, form,        17   experience using that device, what does it do?
18      leading.                                           18      A. It records video and audio.
19      Q. (By Mr. Eblen) Who was your alarm provider      19      Q. All right. I'm going to go ahead and hit
20   in September of 2021?                                 20   play on this. And just sit tight. I'm going to
21      A. ADT.                                            21   play the video all the way through. Okay?
22      Q. Have you ever had a contract for any type       22      A. Yes, sir.
23   of product or service with a company called Vivint?   23             (Video playing.)
24         MR. STEWARD: Objection.                         24      Q. (By Mr. Eblen) Okay. Were you able to
25      A. No.                                             25   watch that okay, Mr. Harris?

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 1       A. Yes, sir.                                          1      Q. Did you watch the transaction again
 2       Q. All right. And did the video that we               2   afterwards?
 3   watched, did that fairly and accurately represent         3      A. Yes, I did.
 4   what you recall occurring on your doorstep?               4      Q. And any time that you've looked at it, has
 5       A. Yes, sir.                                          5   what's been depicted on the recording been
 6       Q. Okay. And you see in the lower right-hand          6   consistent with your memory of what occurred that
 7   of what's still on the screen on the video, does          7   day?
 8   it -- does it appear that there's a date and time on      8      A. Yes.
 9   there?                                                    9      Q. So other than the gentleman at the door,
10       A. Yes.                                              10   there were two voices that are on the recording.
11       Q. Is that date and time stamp, to your              11   Who are the two voices?
12   recollection, is that accurate?                          12      A. That's me and my wife.
13       A. Yes.                                              13      Q. Since the recording, has anything happened
14       Q. Early on in the process, did you hear the         14   to your knowledge that altered what's depicted on
15   gentleman on your doorstep say something to the          15   the Ring doorbell video?
16   effect of that they were the ones who installed your     16      A. No.
17   equipment; did you hear that?                            17      Q. Are you working right now, Mr. Harris?
18       A. Yes, I did. That's when I started to get          18      A. I am not.
19   angry.                                                   19      Q. Okay. Why not?
20       Q. Was that an accurate representation that          20      A. I had a stroke in 2016. And I did come
21   he made to you?                                          21   back to work after a year and a half, but then COVID
22       A. No. Because I was -- I was in the home            22   happened and I was let go.
23   when ADT installed it.                                   23      Q. And how are you doing now?
24       Q. All right. I'm going to take this -- this         24      A. Okay. Still doing therapy. You can see I
25   down now.                                                25   got some -- a little bit of droop and I still have
                                                    Page 11                                                      Page 13
 1             Just tell me generally, how did you       1         paralysis in my right hand.
 2   feel about that transaction that you had or that    2            Q. Were you able to identify the name of the
 3   interaction that you had with the gentleman from    3         gentleman from Vivint?
 4   Vivint?                                             4            A. I was not.
 5       A. Angry. And I was a little worried because    5            Q. Did you call Vivint to report his conduct?
 6   he did have my correct information as far as the    6            A. I -- I did on Facebook. I found them.
 7   name, what I was paying and my phone number. So I 7              Q. Did you send the video to Vivint?
 8   was just -- I did look -- look them up after he     8            A. I did not send the video to Vivint. I
 9   left.                                               9         sent it to ADT.
10       Q. Do you have any knowledge as to how he      10            Q. Did you ever call Vivint?
11   obtained the information that you just described?  11            A. No. Just that brief Facebook interaction.
12       A. No, I don't.                                12            Q. Did they ever respond to you?
13       Q. Did you do any further investigation to     13            A. They did.
14   determine how he had that information about your   14            Q. And what was their response?
15   account?                                           15            A. That they would look into it. And they
16       A. I just looked up the company on Facebook    16         thanked me for contacting them.
17   and Google. But, no, I have no idea how he got my 17             Q. Did you ever hear from Vivint after you
18   information.                                       18         reported the conduct to them on Facebook?
19       Q. So after this video was captured, how were  19            A. No.
20   you able to access it if you want to, to -- either 20                MR. EBLEN: All right. Those are all the
21   to view it or send it to someone else?             21            questions I have for you today. Thank you.
22       A. You go into the Ring app.                   22                      [EXAMINATION]
23       Q. And did you do that after this              23         QUESTIONS BY MR. STEWARD:
24   transaction?                                       24            Q. Hi, Mr. Harris. My name's Matt Steward
25       A. Yes.                                        25         and I'm one of the attorneys who represents Vivint.

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 1   Thank you for being here today. I just have a few         1      A. No.
 2   questions for you if that's okay.                         2      Q. Are you still an ADT customer?
 3       A. Yes, sir.                                          3      A. Yes, sir.
 4       Q. You mentioned that you had worked for the          4      Q. Do you know the duration of your ADT
 5   law firm of Shook Hardy Bacon; is that right?             5   contract, when it expires?
 6       A. Yes, sir.                                          6      A. I want to say three years, but I'm not
 7       Q. And approximately what were the dates that         7   positive.
 8   you worked for Shook Hardy Bacon?                         8      Q. Okay. And do you recall, you mentioned
 9       A. I think I started in April of 2009. Wait.          9   you had a Facebook interaction with somebody. Do
10   No. I lost my -- I got -- I lost my job at the Star      10   you recall the substance of your post? Sounds like
11   in 2009. I started at -- the company changed names.      11   you didn't provide the Ring video, but that you
12   It wasn't Novatech. It was something else back           12   provided some description of the interaction; is
13   then. I can't remember the company's name when I         13   that right?
14   first started at Shook.                                  14      A. Yes.
15       Q. That's fine.                                      15      Q. And let me ask, do you know approximately
16              When did you last provide any work or         16   when that was? Was it shortly after the interaction
17   services for the Shook Law Firm?                         17   on September, I think, 25?
18       A. I think that was in '19.                          18      A. It would have been that same day.
19       Q. Okay. Did you ever work on any matters            19      Q. The same day. Okay.
20   that involved the company ADT?                           20             And that was -- sounded like that was
21       A. No, sir.                                          21   the only contact you had with Vivint, was that
22       Q. Okay. Did you ever work with Mr. Eblen?           22   Facebook post?
23       A. To my knowledge, no. Can I --                     23      A. Yes.
24       Q. Yes, please. Go ahead.                            24      Q. And you had indicated that you had looked
25       A. Like in my department that I worked with          25   the rep up. But I just wanted to clarify. Sounds
                                                    Page 15                                                     Page 17
 1   that partners with Shook, I worked with the --            1 like you looked up the company, not the individual
 2   usually with the assistants and the -- oh, my             2 rep; is that right?
 3   goodness, what are the names?                             3    A. Because I didn't get his name on his
 4       Q. Maybe the paralegals?                              4 badge. So, no, I did not look up the individual.
 5       A. Legals. Thank you. Paralegals. So very             5    Q. Okay.
 6   rarely directly with the attorneys.                       6        MR. STEWARD: Those are all the questions
 7       Q. Okay. Thank you for you that.                      7    I have. Thanks for being here. I did want to
 8              It sound -- it sounded to me like you          8    let you know that based on your providing the
 9   maybe joined the -- the interaction with the sales        9    Ring video, the sales representative has been
10   representative after the interaction had started.        10    terminated. His employment has been
11   Is that right or were you present the whole time         11    terminated. So I did want to let you know
12   with your wife?                                          12    that.
13       A. No. That's -- that is correct. I was              13        MR. EBLEN: I don't have any additional
14   listening to my wife.                                    14    questions either. Thank you very much for your
15       Q. And what's your wife's -- what's your             15    time today, Mr. Harris.
16   wife's name?                                             16        MR. STEWARD: I appreciate it. Thank you,
17       A. Alaina.                                           17    Mr. Harris. Have a good holiday.
18       Q. Alaina.                                           18        THE COURT REPORTER: Signature?
19       A. Harris.                                           19    Signature.
20       Q. Did your interaction with the sales               20        MR. EBLEN: Mr. Harris, you have the
21   representative depicted in that video cause you to       21    opportunity, if you wish, to get a copy of the
22   cancel your ADT service?                                 22    transcript that's generated from this
23       A. No, it did not.                                   23    proceeding today. And if want to read it and
24       Q. Did that interaction cause you to suspend         24    make, you know, changes for typos and things
25   or delay your monthly payment to ADT?                    25    like that, you can. You don't have to. You

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 1   can waive it and not do that. But it's
 2   entirely up to you.
 3      THE WITNESS: I'll waive it.
 4      MR. EBLEN: Okay. Thank you.
 5      THE VIDEOGRAPHER: We're going off the
 6   record at 11:00 a.m.
 7             (Whereupon signature was
 8             waived.)
 9             (Off the record at 11:00 a.m.)
10
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 1          CERTIFICATE OF REPORTER
 2       I, Sheryl A. Pautler, RPR, Certified Court
 3   Reporter (MO), Certified Shorthand Reporter
 4   (IL), do hereby certify that the witness whose
 5   testimony appears in the foregoing deposition
 6   was duly sworn by me; the testimony of said
 7   witness was taken by me to the best of my
 8   ability and thereafter reduced to typewriting
 9   under my direction; that I am neither counsel
10   for, related to, nor employed by any of the
11   parties to the action in which this deposition
12   was taken, and further that I am not a relative
13   or employee of any attorney or counsel employed
14   by the parties thereto, nor financially or
15   otherwise interested in the outcome of the
16   action.
17
18
19    <%18606,Signature%>
20      Certified Court Reporter (MO)
21     Certified Shorthand Reporter (IL)
22
23
24
25

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                                   Rule 30



      (e) Review By the Witness; Changes.

      (1) Review; Statement of Changes. On request by the

      deponent or a party before the deposition is

      completed, the deponent must be allowed 30 days

      after being notified by the officer that the

      transcript or recording is available in which:

      (A) to review the transcript or recording; and

      (B) if there are changes in form or substance, to

      sign a statement listing the changes and the

      reasons for making them.

      (2) Changes Indicated in the Officer's Certificate.

      The officer must note in the certificate prescribed

      by Rule 30(f)(1) whether a review was requested

      and, if so, must attach any changes the deponent

      makes during the 30-day period.




      DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

      ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

      THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

      2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

      OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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       COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

 Veritext Legal Solutions represents that the
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